WILSON FURNITURE CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Wilson Furniture Co. v. CommissionerDocket No. 11317.United States Board of Tax Appeals10 B.T.A. 1294; 1928 BTA LEXIS 3904; March 12, 1928, Promulgated *3904  1.  Inventory methods used consistently and uniformly for many years, that substantially reflect the true income, should not be disturbed by adjustments that result in distortion of actual income.  2.  Discrepancies appearing upon petitioner's books should, if possible, be so adjusted as to disclose the actual income.  H. T. Odom, Esq., and L. A. Williams, C.P.A., for the petitioner.  W. Frank Gibbs, Esq., for the respondent.  LANSDON *1294  The respondent has asserted a deficiency for the fiscal year ended May 31, 1920, in the amount of $4,769.14.  The deficiency arises from the refusal of the respondent to accept the petitioner's method of taking inventory, and from the disallowance by the respondent of an item of $1,440.82 charged against the merchandise sales account on petitioner's books to adjust the accounts receivable as shown in the control ledger with the actual accounts receivable.  FINDINGS OF FACT.  The petitioner is a Mississippi corporation, located at Greenwood, Miss., where it conducts a retail and wholesale furniture business.  During the taxable year, and, for more than fire years prior thereto, its inventory was taken*3905  and valued by J. B. Wilson, an employee and stockholder of petitioner, in the following manner: Every article of merchandise was listed and priced at cost, which usually appeared on a tag attached to each article.  Certain items appearing on the inventory list were then marked "out" as representing merchandise having little or no market value.  The remaining items were carried to another book and totaled at cost.  The articles marked "out" and omitted from the second list consisted chiefly of dead stock, an accumulation of many years, which was unsalable due both to a change in the style of furniture and damage from handling.  When articles of merchandise marked "out" were sold the sale price was entered as income by including it in gross sales without a corresponding cost charge.  On page 19 of the first inventory list appears a lot of shades costing $600, which were marked "out." These shades were later sold for $40.  Using the above method of inventorying, the petitioner computed its opening inventory May 31, 1919, at $43,179.90, and its closing inventory May 31, 1920, at $55,275.60.  The respondent increased the closing inventory to $64,674.35 without a corresponding adjustment*3906  in the opening inventory.  The closing inventory, as determined by *1295  the respondent, was the cost total of the first list and included the merchandise marked "out" by petitioner.  At the close of the taxable year petitioner's cash book understated the cash by $1,983.39.  The control ledger showed an excess of $1,440.82 in the total accounts receivable over the actual accounts receivable.  These discrepancies were adjusted on the books by debiting the cash account and crediting the merchandise sales account with $1,983.39, and by debiting the merchandise sales account with $1,440.82, and crediting the accounts receivable control with a like amount.  The respondent disallowed the latter adjustment.  Petitioner's books were audited once a year by a certified public accountant, who made all necessary adjustments in the accounts to show the true state of affairs for the fiscal year ended May 31, 1919.  The above discrepancies are applicable solely to the taxable year.  OPINION.  LANSDON: There are two questions to be determined in this proceeding: (1) Which of two inventory methods more clearly reflects income, and (2) the adjustment of certain discrepancies appearing upon*3907  petitioner's books.  The petitioner has for many years computed its inventory at cost after marking "out" of the inventory list certain obsolete items having little or no market value.  Such merchandise has been carried in stock for many years and at each inventory period has been excluded from the list as having no market value.  Most of such items, however, had a nominal value.  Occasionally some of these "marked out" articles were sold, at which time the total sale price was entered as income by including the amount in gross sales without a corresponding cost charge.  Shades having cost $600 were sold for $40, which sum was entered as income when, in fact, petitioner sustained a loss.  Both the opening and closing inventories were taken by petitioner on the same basis, i.e., by marking "out" substantially the same merchandise.  The respondent has revalued the closing inventory at cost by including all the items marked "out" by petitioner at their original cost.  No attempt was made to audit or adjust the opening inventory by the respondents's agent, and no mention is made thereof in the agent's report.  In *3908 , the Board said: Even if the entire practice of the taxpayer had been erroneous, if the discounts were in fact cash discounts, the Commissioner clearly erred in insisting upon a change in method at the close of the year without making and allowing a compensatory change at the beginning.  What the inventory practice is, is *1296  of some importance; that the practice should be uniform is of the highest importance.  The purpose of the Revenue Act in requiring inventories in proper cases is in order "clearly to determine the income." Inventories used in computing the cost of goods sold must be computed both at the beginning and end of each year on the same basis.  If the basis or method is changed in the closing inventory without a corresponding change in the opening inventory, the result is a distortion of the actual income.  ; ; The reduction of inventory by the cost of obsolete merchandise has been approved by the Board in *3909 . In , the Board held that unsalable merchandise should be inventoried at bona fide selling price less cost of selling.  In the instant case petitioner marked "out" merchandise which he considered as having "little or no" market value.  The respondent has recomputed the inventory by including those items at actual cost.  The cost method applied by the respondent to the closing inventory overstates the market value of that inventory by making no allowance for unsalable merchandise, and distorts the income by computing the closing inventory on a basis different from that used in the opening inventory.  The method used consistently by the petitioner results in no undue advantage to it since all sales of "out" merchandise are reported as income without a cost charge.  It is clear that the income for the taxable year, as reflected by the petitioner's method, is substantially accurate and that the deficiency asserted by the respondent is not based upon the true income.  The petitioner did not employ a regular bookkeeper and its books were kept in a very loose manner.  Upon audit by*3910  an accountant at the close of the taxable year, the cash was found to be over in the amount of $1,983.39, and the control ledger showed a total as accounts receivable which was in excess of the actual accounts receivable by $1,440.82.  To adjust the books and force a balance, petitioner added the $1,938.39 cash overage to the gross sales and deducted the $1,440.82 excess therefrom.  Petitioner's accounts were audited at the beginning of the taxable year.  The discrepancies are applicable solely to the taxable year and are not an accumulation of errors from prior years.  The evidence does not show the cause or causes of the discrepancies, but it appears that in later years customers have presented receipts for payments on account which were never credited to them.  The evidence does not indicate to what extent such a state of affairs existed.  It seems clear that only the actual accounts receivable can be collected, and that petitioner *1297  will realize nothing from the excess of $1,440.82 shown in the control ledger as accounts receivable.  The respondent erred in disallowing the $1,440.82 deduction from gross sales and thereby increasing petitioner's net income in that amount. *3911  Reviewed by the Board.  Judgment will be entered on 10 days' notice, under Rule 50.MILLIKEN and SIEFKIN concur in the result.  LITTLETON, STERNHAGEN, TRAMMELL, MORRIS and MURDOCK dissent.  